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 10
                         UNITED STATES DISTRICT COURT
 11
                        CENTRAL DISTRICT OF CALIFORNIA
 12
                                 WESTERN DIVISION
 13
 14 THERABODY, INC., a Delaware              Case No. 2:21-cv-9327
    corporation,
 15                                          COMPLAINT FOR:
                 Plaintiff,
 16                                          1.) FEDERAL FALSE
           v.                                DESIGNATION OF ORIGIN, 15
 17                                          U.S.C. § 1125(a);
    DJO, LLC, a Delaware LLC, dba
 18 COMPEX, and DOES 1 through 10,           2.) FEDERAL UNFAIR
    inclusive,                               COMPETITION, 15 U.S.C. § 1125(a)
 19
                 Defendants.                 3.) COMMON LAW TRADE DRESS
 20                                          INFRINGEMENT;
 21                                          4.) INFRINGEMENT OF U.S.
                                             PATENT NOS. 10,918,565;
 22                                          10,857,064; D849,261; D861,182;
                                             D850,640; D859,680; AND D845,500
 23
                                             5.) UNFAIR BUSINESS
 24                                          PRACTICES, CAL. BUS. & PROF.
                                             CODE § 17200 ET SEQ.
 25
                                             DEMAND FOR JURY TRIAL
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  1                                            COMPLAINT
  2                Plaintiff, Therabody, Inc. ("Therabody"), files this complaint against defendant
  3 DJO, LLC, a Delaware LLC, dba Compex ("DJO") and Does 1-10, inclusive
  4 (collectively "Defendants").
  5                                            THE PARTIES
  6                1.    Therabody is, and at all times relevant hereto was, a corporation duly
  7 organized and existing under the laws of the state of Delaware, with its principal place
  8 of business at 6100 Wilshire Blvd., Ste. 200, Los Angeles, CA 90048.
  9                2.    Therabody is informed and believes and, based thereon, alleges that
 10 defendant DJO is a domestic California limited liability company, with offices at 5919
 11 Sea Otter Place, Suite 200, Carlsbad, CA 292010 and 3151 Scott St., Vista, CA 92081.
 12                3.    Therabody is ignorant of the true names and capacities of Defendants
 13 sued herein as Does 1 through 10, inclusive, and therefore sues these Defendants by
 14 such fictitious names and capacities. Therabody will amend this Complaint to allege
 15 their true names and capacities when ascertained, along with the appropriate factual
 16 allegations.
 17                4.    Therabody is informed and believes and, based thereon, alleges that
 18 Defendants are manufacturing, using, selling, or offering for sale within the United
 19 States, or importing into the United States the infringing massage gun products
 20 described below.
 21                5.    Therabody is informed and believes and, based thereon, alleges that each
 22 of the Defendants conspired and acted in concert with one or more other Defendants
 23 to commit the wrongs against Therabody alleged herein, and in doing so were at all
 24 relevant times the agents, servants, employees, principals, joint venturers, alter egos,
 25 and/or partners of each other. Therabody is further informed and believes and on that
 26 basis alleges that, in doing the things alleged in this Complaint, each of the Defendants
 27 was acting within the scope of authority conferred upon that Defendant by the
 28 consent, approval, and/or ratification of one or more of the other Defendants.

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  1                                   JURISDICTION AND VENUE
  2                6.    This is an action for (a) trade dress infringement under Section 43 of the
  3 Lanham Act, 15 U.S.C. §1125; (b) trade dress infringement under the laws of the state
  4 of California; (c) patent infringement under the patent laws of the United States, 35
  5 U.S.C. § 271; and (d) unfair competition pursuant to California Business and
  6 Professions Code Section 17200, et seq.
  7                7.    This Court has subject matter jurisdiction over the trade dress and patent
  8 claims in this action pursuant to 28 U.S.C. §1338(a) and 15 U.S.C. §1121. This Court
  9 has supplemental jurisdiction over the remaining state law claims under 28 U.S.C.
 10 §1367 because the claims are so related to Therabody’s claims under federal law that
 11 they derive from a common nucleus of operative fact and form part of the same case
 12 or controversy.
 13                8.    This Court has personal jurisdiction over Defendants because each of
 14 them has committed and continues to commit acts of infringement in violation of 15
 15 U.S.C. § 1125 and 35 U.S.C. § 271, and places infringing products into the stream of
 16 commerce, with knowledge or understanding that such products are sold in the State
 17 of California, including in this judicial district. The acts of Defendants cause injury
 18 to Therabody within this judicial district.
 19                9.    Upon information and belief, Defendants derive substantial revenue
 20 from the sale of infringing products within the State of California, including this
 21 judicial district, expect their actions to have consequences within this district, and
 22 derive substantial revenue from interstate and international commerce.
 23                10.   Upon information and belief, Defendants sell substantial amounts of
 24 infringing products to consumers who reside within the State of California through its
 25 internet-based ecommerce website and internet websites operated by others, such as
 26 Amazon.com and https://www.compex.com/.
 27                11.   Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and
 28 (c) because a substantial part of the events or omissions giving rise to the claims

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  1 occurred in this judicial district where Defendants have committed and continue to
  2 commit infringing acts, including, without limitation, using their infringing trade
  3 dress to market and sell the infringing products to consumers located within this
  4 judicial district.         Further, on information and belief, an appreciable portion of
  5 Defendants’ customers reside in Los Angeles. In addition, venue is proper because
  6 Therabody’s principal place of business is in this judicial district and Therabody
  7 suffered harm in this judicial district.
  8                                    GENERAL ALLEGATIONS
  9                12.   Therabody is in the business of developing, manufacturing and selling
 10 high-quality, innovative percussive therapy devices. Therabody invests considerable
 11 time, effort and money in developing and protecting its intellectual property,
 12 including the trade dress of its products.
 13                13.   Since at least as early as May 31, 2015, Therabody has used a distinctive
 14 blue color in presenting its trademarks, in its marketing and advertising, and on its
 15 massage gun products.
 16                14.   As a result of the use of its distinctive blue color, Therabody has
 17 developed trade dress rights in the blue color, the use of which is pervasive on
 18 Therabody’s website, advertising, and as applied to its massage gun products and
 19 packaging as specifically described below (the “Trade Dress”).
 20                15.   Therabody’s distinctive blue color used to depict textual elements on
 21 black product packaging, as shown, for example, in the images below:
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  1                16.   Therabody has applied its distinctive blue color to substantially all of the
  2 handle portion of its massage gun product, as shown in the image below.
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  8                17.   Therabody has also applied its distinctive blue color to the entirety of the
  9 inner side of the handle portion of its massage gun product, as shown below:
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                   18.   Therabody has applied its distinctive color blue as an accent color on its
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      massage gun products, as shown in the images below, namely, in a band encircling
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      the arm to which the massage head attachments are attached and to the circle above
 20
      said arm.
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                   19.   The Trade Dress, namely, the application of a distinctive color of blue to
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      various parts of its products or packaging, is not functional: it does not provide a
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  1 utilitarian advantage, a plethora of alternatives colors are available for use, and its use
  2 is not the result of a simple or inexpensive method of manufacture. Therabody
  3 selected and uses the color blue for the purpose of identifying its products and
  4 distinguishing them from the products of third parties.
  5                20.   The Trade Dress is either inherently distinctive, or, through Therabody’s
  6 continuous use and promotion, has acquired distinctiveness, and the Trade Dress is
  7 uniquely associated with Therabody and its massage gun products. Therabody has
  8 used its unique color blue continuously since it launched its first massage gun product.
  9 The blue accents, described above, are consistently applied to Therabody products,
 10 and Therabody’s use of the color blue is consistent and pervasive.
 11                21.   Therabody has sold millions of dollars of products bearing its distinctive
 12 color blue. It has spent millions of dollars to promote its products bearing its
 13 distinctive color blue. Therabody products bearing the Trade Dress and/or
 14 Therabody’s distinctive blue color are used by numerous celebrities and professional
 15 athletes, have been the subject of extensive press and advertising, and have been used
 16 on the field during a Super Bowl and on the court during the NBA Finals. As a result
 17 of Therabody’s extensive advertising and promotion and the widespread, and high
 18 profile, use of Therabody’s Trade Dress, including as described above, Therabody’s
 19 Trade Dress is associated by the public exclusively with Therabody and its products
 20 and is used by the public as an indicator of the origin and quality of Therabody’s
 21 massage gun products.
 22                22.   Additionally, Defendants’ have copied Therabody’s Trade Dress, as
 23 have third parties. Such copying is further evidence that Therabody’s Trade Dress
 24 has secondary meaning.
 25                23.   As is apparent from the images of Defendants’ products set forth in
 26 Paragraph 46, below, Defendants are using a virtually identical blue color on their
 27 massage gun products. In fact, apparently recognizing the strength and value of
 28 Therabody’s Trade Dress, Defendants have applied the blue color to their products in

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  1 virtually the same locations and positions as that blue color is applied to the
  2 Therabody products.
  3                24.   Both parties’ goods are massage guns; thus the goods are legally
  4 identical and directly competitive. It follows that the consumers and the channels of
  5 trade and marketing are the same for both parties. Additionally, both parties are
  6 selling their products through online retail platforms.
  7                25.   The Therabody Trade Dress is a strong mark, for the same reasons
  8 discussed in Paragraphs 12-21, above.
  9                26.   It is evident that, perhaps recognizing the strength and value of the
 10 Therabody Trade Dress, Defendants have intentionally and deliberately attempted to
 11 replicate it on their competing products.
 12                27.   In view of the foregoing, Defendants’ application of the same blue color
 13 to the same products in virtually the same location and the same positions as that blue
 14 color is applied to the Therabody products is likely to cause confusion or mistake, or
 15 to deceive members of the public into believing that Defendants’ massage gun
 16 products are approved, sponsored, endorsed, or licensed by, or affiliated, connected
 17 or otherwise associated with Therabody, which is not the case. Such confusion,
 18 mistake, or deception will inevitably continue after the sale of the products, as
 19 consumers continue to encounter Defendants’ infringing products at gyms, in
 20 therapists or doctors’ offices, or in other post-sale contexts, and as a result of such
 21 post-sale confusion the harm to Therabody’s reputation will continue and be
 22 amplified.
 23                                         Therabody’s Patents
 24                28.   On February 16, 2021, the United States Patent and Trademark Office
 25 issued United States Patent Number 10,918,565, entitled “Percussive massage device
 26 and method of use” (hereinafter the “‘565 Patent”), issued on February 16, 2021, a
 27 true and correct copy of which is attached hereto as Exhibit 1.
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  1                29.   Therabody is the owner of the ‘565 Patent. The ‘064 Patent is presumed
  2 to be valid and is prima facie proof that the inventions claimed in the ‘064 Patent are
  3 novel and non-obvious.
  4                30.   The ‘565 Patent pertains to a percussive massage device and method of
  5 using a percussive massage device.
  6                31.   On December 8, 2020, the United States Patent and Trademark Office
  7 issued United States Patent Number 10,857,064, entitled “Percussive Therapy
  8 Device” (hereinafter the “ ‘064 Patent”). A true and correct copy of the ‘064 Patent is
  9 attached hereto as Exhibit 2.
 10                32.   Therabody is the owner of the ‘064 Patent. The ‘064 Patent is presumed
 11 to be valid and is prima facie proof that the inventions claimed in the ‘064 Patent are
 12 novel and non-obvious.
 13                33.   The ‘064 Patent pertains to a percussive massage device and method of
 14 using a percussive massage device.
 15                34.   On May 21, 2019, the United States Patent and Trademark Office issued
 16 United States Patent Number D849,261, entitled “Massage Element” (hereinafter “the
 17 ‘261 Patent”). A true and correct copy of the ‘261 Patent is attached hereto as Exhibit
 18 3.
 19                35.   Therabody is the owner of the ‘261 Patent. The ‘261 Patent pertains to
 20 a particular ornamental design for an attachment for percussive massage devices,
 21 including as depicted in Fig. 1 below. The ‘261 Patent is presumed to be valid and is
 22 prima facie proof that the design shown in the ‘261 Patent is novel and non-obvious.
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 28                                               Fig. 1
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  1                36.   On September 2, 2019, the United States Patent and Trademark Office
  2 issued United States Patent Number D861,182, entitled “Massage Element”
  3 (hereinafter “the ‘182 Patent”). A true and correct copy of the ‘182 Patent is attached
  4 hereto as Exhibit 4.
  5                37.   Therabody is the owner of the ‘182 Patent. The ‘182 Patent pertains to
  6 a particular ornamental design for an attachment for percussive massage devices,
  7 including as depicted in Fig. 2 below. The ‘182 Patent is presumed to be valid and is
  8 prima facie proof that the design shown in the ‘182 Patent is novel and non-obvious.
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 14                                               Fig. 2
 15                38.   On June 4, 2019, the United States Patent and Trademark Office issued
 16 United States Patent Number D850,640, entitled “Massage Element” (hereinafter “the
 17 ‘640 Patent”). A true and correct copy of the ‘640 Patent is attached hereto as Exhibit
 18 5.
 19                39.   Therabody is the owner of the ‘640 Patent. The ‘640 Patent pertains to
 20 a particular ornamental design for an attachment for percussive massage devices,
 21 including as depicted in Fig. 3 below. The ‘640 Patent is presumed to be valid and is
 22 prima facie proof that the design shown in the ‘640 Patent is novel and non-obvious.
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 28                                               Fig. 3
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   1                40.   On September 10, 2019, the United States Patent and Trademark Office
   2 issued United States Patent Number D859,680, entitled “Massage Element”
   3 (hereinafter “the ‘680 Patent”). A true and correct copy of the ‘680 Patent is attached
   4 hereto as Exhibit 6.
   5                41.   Therabody is the owner of the ‘680 Patent. The ‘680 Patent pertains to
   6 a particular ornamental design for an attachment for percussive massage devices,
   7 including as depicted in Fig. 4 below. The ‘680 Patent is presumed to be valid and is
   8 prima facie proof that the design shown in the ‘680 Patent is novel and non-obvious.
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  14                                               Fig. 4
  15                42.   On April 9, 2019, the United States Patent and Trademark Office issued
  16 United States Patent Number D845,500, entitled “Massage Element” (hereinafter “the
  17 ‘500 Patent”). A true and correct copy of the ‘500 Patent is attached hereto as Exhibit
  18 7.
  19                43.   Therabody is the owner of the ‘500 Patent. The ‘500 Patent pertains to
  20 a particular ornamental design for an attachment for percussive massage devices,
  21 including as depicted in Fig. 5 below. The ‘500 Patent is presumed to be valid and is
  22 prima facie proof that the design shown in the ‘500 Patent is novel and non-obvious.
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  28                                               Fig. 5
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   1                44.   Therabody’s patented and patent-pending devices are innovative and
   2 have received industry praise and recognition, including the 2019 A’ Design Award
   3 in Digital and Electronic Devices Design for its Therabody G3PRO design.
   4                                  Defendant’s Infringing Conduct
   5                45.   Therabody is informed and believes and based thereon alleges that
   6 Defendant recently began competing with Therabody in the percussive massage
   7 device industry by manufacturing and selling percussive massage devices infringing
   8 Therabody’s trade dress and patents. Specifically, Defendant manufactures and sells:
   9 1) Compex Fixx 2.0 percussive massage device (the “Infringing Device”) and 2)
  10 attachments with identical, or nearly identical, designs to those of Therabody’s
  11 patents, including head attachments infringing the designs claimed in the ‘261 Patent
  12 and the ‘182 Patent (“First Infringing Attachment”), the ‘640 Patent and the ‘680
  13 Patent (“Second and Third Infringing Attachments”), and the ‘500 Patent (the “Fourth
  14 Infringing Attachment”), (collectively, the Infringing Device and Infringing
  15 Attachments are “Infringing Products” and the asserted patents are “Asserted
  16 Patents”).
  17                46.   The Infringing Device is shown below:
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   1                47.   The First, Second, Third and Fourth Infringing Attachments are shown
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       below:
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   9                48.   As shown above, it is clear from their product design and product name
  10 selection that Defendants are deliberately imitating Plaintiff. Defendants product
  11 design employing the same distinctive color of blue to the head portion of its
  12 percussive massage device is virtually identical to Therabody’s Trade Dress.
  13                49.   Defendants’ conduct is likely to cause confusion or mistake, or to
  14 deceive members of the public into believing that Defendants or their percussive
  15 massage device are approved, sponsored, endorsed, or licensed by, or affiliated,
  16 associated, or otherwise connected with Therabody, which is not the case. Such
  17 confusion, mistake, or deception will inevitably continue after the sale of the products,
  18 as consumers continue to encounter Defendants’ infringing products at gyms, in
  19 therapists or doctors’ offices, or in other post-sale contexts, and as a result of such
  20 post-sale confusion the harm to Therabody’s reputation will continue and be
  21 amplified.
  22                                   FIRST CAUSE OF ACTION
  23                          False Designation of Origin, 15 U.S.C. § 1125(a)
  24                                      (Against All Defendants)
  25                50.   Therabody realleges and incorporates by reference all foregoing
  26 paragraphs as if fully set forth herein. Therabody uses its Trade Dress in commerce
  27 on and in connection with its percussive massage devices, accessories therefor, and
  28 the advertising and promotion of the same. Therabody’s Trade Dress, described

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   1 above, is comprised of distinctive features which are protected under Lanham Act §
   2 43(a). Therabody’s Trade Dress is either inherently distinctive or, as a result of its
   3 use, has acquired secondary meaning whereby the relevant consuming public and the
   4 trade associate these features with a single source.
   5                51.   As described above, Defendant has used in commerce trade dress that
   6 is confusingly similar to Therabody’s unique and protectable Trade Dress (hereinafter
   7 the “Infringing Trade Dress”), on and in connection with their sale of massage gun
   8 products and accessories therefor.
   9                52.   Defendants' conduct alleged herein constitutes a false designation of
  10 origin and/or a false or misleading description and/or representation of fact, which is
  11 likely to deceive or to cause confusion or reverse confusion or mistake among
  12 consumers as to the origin, sponsorship, or approval of the Defendants' goods and
  13 services and/or deceive or to cause confusion or mistake among consumers as to the
  14 affiliation, connection, or association between Defendant and Therabody.
  15                53.   Defendants' conduct described herein was knowing, willful, intentional,
  16 deliberate, and in total disregard of Therabody’s rights. The knowing and intentional
  17 nature of the acts set forth herein renders this an exceptional case under 15 U.S.C.
  18 § 1117(a).
  19                54.   As a direct and proximate cause of Defendants' unlawful, intentional,
  20 and willful conduct, Therabody has been and will continue to be irreparably harmed
  21 unless Defendant is permanently enjoined from such unlawful conduct. Therabody
  22 has no adequate remedy at law. Unless enjoined, Defendant will continue to mislead
  23 and confuse consumers as to the origin, sponsorship, or approval of Defendants'
  24 goods and services and/or deceive or cause confusion or mistake among consumers
  25 as to the affiliation, connection, or association between Defendant and Therabody.
  26                55.   In light of the foregoing, Therabody is entitled to a permanent injunction
  27 prohibiting Defendant from using the Infringing Trade Dress, and any marks or trade
  28 dress confusingly similar to the Trade Dress, and to recover from Defendant all

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   1 damages that Therabody has sustained and will sustain, and all gains, profits, and
   2 advantages obtained by Defendant as a result of their infringing acts alleged above in
   3 an amount not yet known, and the costs of this action pursuant to 15 U.S.C.
   4 § 1117(a).
   5                56.   Pursuant to 15 U.S.C. § 1118, Plaintiff is entitled to, and hereby seeks,
   6 an order for the destruction of all materials bearing the Infringing Trade Dress, or any
   7 other trade dress confusingly similar to Therabody’s Trade Dress.
   8                                  SECOND CAUSE OF ACTION
   9                         Federal Unfair Competition, 15 U.S.C. § 1125(a)
  10                                       (Against All Defendants)
  11                57.   Therabody realleges and incorporates by reference all foregoing
  12 paragraphs as if fully set forth herein.
  13                58.   Defendants have deliberately and willfully attempted to capitalize on
  14 Therabody’s goodwill and reputation established in connection with the Therabody
  15 Trade Dress by misleading, confusing, or deceiving consumers as to source, source,
  16 origin, affiliation, approval, sponsorship, and/or association, including by copying
  17 and using each element of the Trade Dress.
  18                59.   Defendants have engaged in, and continue to engage in, their unlawful,
  19 intentional, and willful conduct without Therabody’s permission or consent.
  20                60.   As a direct and proximate cause of Defendants' unlawful, intentional, and
  21 willful conduct, Therabody has been and will continue to be irreparably harmed unless
  22 Defendants are permanently enjoined from such unlawful conduct. Therabody has no
  23 adequate remedy at law. Unless enjoined, Defendant will continue its unlawful,
  24 intentional, and willful conduct.
  25                61.   In light of the foregoing, Therabody is entitled to a permanent injunction
  26 prohibiting Defendant from using the Infringing Trade Dress, and any marks or trade
  27 dress confusingly similar to the Trade Dress, and to recover from Defendant all
  28 damages that Therabody has sustained and will sustain, and all gains, profits, and

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   1 advantages obtained by Defendants as a result of its infringing acts alleged above in
   2 an amount not yet known, and the costs of this action pursuant to 15 U.S.C. § 1117(a).
   3                62.   Pursuant to 15 U.S.C. § 1118, Therabody is entitled to, and hereby seeks,
   4 an order for the destruction of all materials bearing the Infringing Trade Dress, or any
   5 other trade dress confusingly similar to the Trade Dress.
   6                63.   As this is an exceptional case, given Defendants' willful acts, pursuant
   7 to 15 U.S.C. § 1117(a), Therabody is further entitled to three times the amount of the
   8 above profits or damages, whichever is greater, and their attorneys' fees.
   9                                   THIRD CAUSE OF ACTION
  10                             Common Law Trade Dress Infringement
  11                                       (Against All Defendants)
  12                64.   Therabody realleges and incorporates by reference all foregoing
  13 paragraphs as if fully set forth herein.
  14                65.   Defendants’ acts constitute common law trade dress and trademark
  15 infringement and unfair competition under state law.
  16                66.   Therabody has been damaged and will continue to be damaged by
  17 Defendants’ infringing activities.
  18                67.   Therabody has no adequate remedy at law and is entitled to an injunction
  19 prohibiting Defendants from continuing the infringing practices described herein, and
  20 a recall order directed to the infringing items in the marketplace.
  21                68.   Therabody is also entitled to profits and damages arising from
  22 Defendants’ wrongful use of Plaintiff’s Trade Dress.
  23                69.   Therabody is informed and believes, on that basis alleges, that
  24 Defendants' conduct was willful, wanton, malicious, and in conscious disregard of
  25 Therabody’s rights, thereby justifying an award of punitive and/or exemplary
  26 damages in an amount according to proof at trial.
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   1                                  FOURTH CAUSE OF ACTION
   2                Patent Infringement of the ‘565 Patent, 35 U.S.C. §§ 101 et seq.
   3                                       (Against All Defendants)
   4                70.   Therabody realleges and incorporates by reference all foregoing
   5 paragraphs as if fully set forth herein.
   6                71.   At all times herein mentioned the ‘565 Patent was and is valid and fully
   7 enforceable.
   8                72.   Defendants are offering percussive massage devices that infringe at least
   9 claim 1 of the ‘565 Patent, including at least the Infringing Device.
  10                73.   Defendants' Infringing Device is a percussive massage device.
  11                74.   As shown below, Defendants' Infringing Device includes a housing,
  12 wherein the housing includes first, second and third handle portions that cooperate to
  13 at least partially define a handle opening.
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  25                75.   As shown below, Defendants' Infringing Device includes a first handle

  26 portion that defines a first axis, a second handle portion that defines a second axis and
  27 a third handle portion that defines a third axis, and wherein the first, second and third
  28 axes are co-planar.

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                    76.   As shown above, the Infringing Device includes that the first handle
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       portion is generally straight, that the second handle portion is generally straight, and
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       that the third handle portion is generally straight, such that a user can grasp any of the
  14
       first, second or third handle portions independently to use the percussive massage
  15
       device.
  16
                    77.   The Infringing Device includes an electrical source, a motor positioned
  17
       in the housing, a switch for activating the motor, and a push rod assembly operatively
  18
       connected to the motor and configured to reciprocate in response to activation of the
  19
       motor.
  20
                    78.   On information and belief, at least since the filing of this Complaint,
  21
       Defendants have knowingly and actively induced the infringement of one or more of
  22
       the ’565 Patent claims by, inter alia, marketing, promoting, and offering for use the
  23
       Infringing Device, knowingly and intending that the use of the Infringing Device by
  24
       Defendants’ customers and by users infringes the ’565 Patent. For example,
  25
       Defendants intend to induce such infringement by, among other things, promoting
  26
       users to purchase and use the Infringing Device knowing that its purchase and use
  27
       infringes one or more claims of the ’565 Patent.
  28

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   1                79.   On information and belief, at least since the filing of this Complaint,
   2 Defendants have contributed to the infringement of the ‘565 Patent by their customers
   3 and users of the Infringing Device by, inter alia, making, offering to sell, selling
   4 and/or importing into the United States, a component of a patented machine,
   5 manufacture or combination, or an apparatus for use in practicing a patented process,
   6 constituting a material part of the invention, knowing the same to be especially made
   7 or especially adapted for use in infringing the ‘565 Patent. The Infringing Device is
   8 not a staple article or commodity of commerce suitable for substantial non-infringing
   9 use and is known by Defendants to be especially made or especially adapted to the
  10 infringe the ‘565 Patent. As a result, Defendants’ Infringing Device has been used by
  11 its customers and by users to infringe the ‘565 Patent. Defendants continue to engage
  12 in acts of contributory infringement of the ‘565 Patent even after receiving notice of
  13 its contributory infringement.
  14                80.   Defendants infringe literally or under the doctrine of equivalents, or
  15 both.           At no time has Therabody granted Defendants authorization, license, or
  16 permission to utilize the inventions claimed in the ‘565 Patent. Therabody has been
  17 damaged by Defendants’ acts of infringement of the ‘565 Patent and Therabody will
  18 continue to be damaged by such infringement unless enjoined by this Court.
  19 Therabody is entitled to recover damages adequate to compensate for the infringement
  20 under 35 U.S.C. § 284.
  21                81.   Therabody is, and has been, irreparably harmed by Defendants’ on-going
  22 infringement, including the following harm which cannot be quantified or recouped
  23 through monetary damages: (1) lost market share that will be difficult, if not
  24 impossible, to recoup later as the Infringing Device becomes entrenched with retail
  25 sellers and trainers who recommend it to their clients, (2) loss of first mover advantage
  26 that Therabody enjoyed as the first company to offer its innovative percussive devices
  27 and patented attachments, (3) loss of Therabody’s investment in developing the
  28 market for percussive devices and its patented attachments, (4) negative effect on its

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   1 reputation as innovator and pioneer, (5) the unquantifiable effect on lost sales of
   2 related products, (6) price erosion due to Defendants’ Infringing Device being sold at
   3 a price point lower than Therabody’s patented products, (7) diversion of resources to
   4 defend against loss of market share caused by sales of the Infringing Device, and (8)
   5 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
   6 infringing attachments that leads to additional irreparable harm described above.
   7                82.   Defendants’ acts of infringement, including their continued sales of the
   8 Infringing Products after notice of their infringement through the filing of this
   9 complaint and Therabody’s marking of its products via its website at
  10 https://www.therabody.com/us/en-us/patents.html, continue to be willful and
  11 deliberate and therefore warrant the award of attorneys’ fees pursuant to 35 U.S.C. §
  12 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284.
  13                                    FIFTH CAUSE OF ACTION
  14                Patent Infringement of the ‘064 Patent, 35 U.S.C. §§ 101 et seq.
  15                                       (Against All Defendants)
  16                83.   Therabody realleges and incorporates by reference all foregoing
  17 paragraphs as if fully set forth herein.
  18                84.   At all times herein mentioned the ‘064 Patent was and is valid and fully
  19 enforceable.
  20                85.   Defendants infringe at least claim 19 of the ‘064 Patent by practicing the
  21 claimed method of obtaining and using a percussive massage device.
  22                86.   As shown below, Defendants' Infringing Device includes a housing that
  23 includes first, second and third handle portions that cooperate to at least partially
  24 define a handle opening.
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                    87.   As shown below, Defendants' Infringing Device includes the first handle
  11
       portion defines a first axis, the second handle portion defines a second axis and the
  12
       third handle portion defines a third axis, wherein the first handle portion includes a
  13
       first handle portion interior edge and defines a first handle portion length, wherein the
  14
       first handle portion length is long enough that when a user grasps the first handle
  15
       portion with a hand at least a portion of three fingers extend through the handle
  16
       opening and contact the first handle portion interior edge, wherein the second handle
  17
       portion includes a second handle portion interior edge and defines a second handle
  18
       portion length, wherein the second handle portion length is long enough that when a
  19
       user grasps the second handle portion with a hand at least a portion of three fingers
  20
       extend through the handle opening and contact the second handle portion interior
  21
       edge, wherein the third handle portion includes a third handle portion interior edge
  22
       and defines a third handle portion length, wherein the third handle portion length is
  23
       long enough that when a user grasps the third handle portion with a hand at least a
  24
       portion of three fingers extend through the handle opening and contact the third handle
  25
       portion interior edge.
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  13                88.   The Infringing Device includes a motor positioned in the housing, a
  14 switch for activating the motor, and a push rod assembly operatively connected to the
  15 motor and configured to reciprocate in response to activation of the motor.
  16                89.   Defendants further practice the method of using Infringing Device,
  17 including activating the motor using the switch, grasping the first handle portion using
  18 a first hand, massaging a first body part, reorienting the percussive massage device,
  19 grasping the second handle portion using the first hand and massaging the first body
  20 part or a second body part, and reorienting the percussive massage device, grasping
  21 the third handle portion using the first hand and massaging the first body part, the
  22 second body part or a third body part.
  23                90.   The Infringing Device includes the first handle portion, second handle
  24 portion and third handle portion are generally straight.
  25                91.   On information and belief, at least since the filing of this Complaint,
  26 Defendants have knowingly and actively induced the infringement of one or more of
  27 the ’064 Patent claims by, inter alia, marketing, promoting, and offering for use the
  28 Infringing Device, knowingly and intending that the use of the Infringing Device by

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   1 Defendants’ customers and by users infringes the ’064 Patent. For example,
   2 Defendants intend to induce such infringement by, among other things, promoting
   3 users to use the Infringing Device knowing that its use infringes one or more claims
   4 of the ’064 Patent.
   5                92.   On information and belief, at least since the filing of this Complaint,
   6 Defendants have contributed to the infringement of the ‘064 Patent by their customers
   7 and users of the Infringing Device by, inter alia, making, offering to sell, selling
   8 and/or importing into the United States, a component of a patented machine,
   9 manufacture or combination, or an apparatus for use in practicing a patented process,
  10 constituting a material part of the invention, knowing the same to be especially made
  11 or especially adapted for use in infringing the ‘064 Patent. The Infringing Device is
  12 not a staple article or commodity of commerce suitable for substantial non-infringing
  13 use and is known by Defendants to be especially made or especially adapted to the
  14 infringe the ‘064 Patent. As a result, Defendants’ Infringing Device has been used by
  15 its customers and by users to infringe the ‘064 Patent. Defendants continue to engage
  16 in acts of contributory infringement of the ‘064 Patent even after receiving notice of
  17 its contributory infringement.
  18                93.   Defendants infringe literally or under the doctrine of equivalents, or
  19 both.
  20                94.   At no time has Therabody granted Defendants authorization, license, or
  21 permission to utilize the inventions claimed in the ‘064 Patent.
  22                95.   Therabody has been damaged by Defendants’ acts of infringement of the
  23 ‘064 Patent and Therabody will continue to be damaged by such infringement unless
  24 enjoined by this Court. Therabody is entitled to recover damages adequate to
  25 compensate for the infringement under 35 U.S.C. § 284.
  26                96.   Therabody is, and has been, irreparably harmed by Defendants’ on-going
  27 infringement, including the following harm which cannot be quantified or recouped
  28 through monetary damages: (1) lost market share that will be difficult, if not

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   1 impossible, to recoup later as the Infringing Device becomes entrenched with retail
   2 sellers and trainers who recommend it to their clients, (2) loss of first mover advantage
   3 that Therabody enjoyed as the first company to offer its innovative percussive devices
   4 and patented attachments, (3) loss of Therabody’s investment in developing the
   5 market for percussive devices and its patented attachments, (4) negative effect on its
   6 reputation as innovator and pioneer, (5) the unquantifiable effect on lost sales of
   7 related products, (6) price erosion due to Defendants’ Infringing Device being sold at
   8 a price point lower than Therabody’s patented products, (7) diversion of resources to
   9 defend against loss of market share caused by sales of the Infringing Device, and (8)
  10 Defendants’ unauthorized sales that are enticing others to offer for sale and sell
  11 infringing attachments that leads to additional irreparable harm described above.
  12                97.   Defendants’ acts of infringement, including their continued sales of the
  13 Infringing Products after notice of their infringement through the filing of this
  14 complaint and Therabody’s marking of its products via its website at
  15 https://www.therabody.com/us/en-us/patents.html, continue to be, willful and
  16 deliberate and therefore warrant the award of attorneys’ fees pursuant to 35 U.S.C. §
  17 285 and the award of enhanced damages pursuant to 35 U.S.C. § 284.
  18                                   SIXTH CAUSE OF ACTION
  19                Patent Infringement of the ‘261 Patent, 35 U.S.C. §§ 101 et seq.
  20                                       (Against All Defendants)
  21                98.   Therabody realleges and incorporates by reference all paragraphs above
  22 as if fully set forth herein.
  23                99.   At all times herein mentioned the ‘261 Patent was and is valid and fully
  24 enforceable.
  25                100. As shown below, a side by side comparison of figures from Therabody’s
  26 ‘261 Patent and the design of Defendants’ First Infringing Attachment as a whole
  27 quickly reveals that the First Infringing Attachment appears substantially the same as
  28 Therabody’s ‘261 Patent to an ordinary observer, and the resemblance is such as to

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   1 deceive such an observer, inducing him to purchase one supposing it to be the other.
   2 Among other things, an ordinary observer would conclude that the First Infringing
   3 Attachment has a number of the same, or very similar, features as the design patented
   4 in the ‘261 Patent that contribute to an overall appearance that is substantially the
   5 same, including that both the patented design and First Infringing Attachment are (a)
   6 cone shaped, (b) have the same relative dimensions (cone axial length relative to the
   7 diameter of the base), (c) have a rounded tip, and (d) have a generally circular cavity
   8 centered in the base of the attachment:
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  15                101. Defendants have and continue to directly infringe the ‘261 Patent by
  16 making, using, offering for sale, selling and importing the First Infringing Attachment
  17 in conjunction with percussive massage devices competitive to Therabody.
  18                102. Defendants’ infringement is based upon literal infringement or
  19 infringement under the doctrine of equivalents, or both.
  20                103. On information and belief, at least since the filing of this Complaint,
  21 Defendants have knowingly and actively induced the infringement of one or more of
  22 the ‘261 Patent claims by, inter alia, marketing, promoting, and offering for use the
  23 First Infringing Attachment, knowingly and intending that the use of the First
  24 Infringing Attachment by Defendants’ customers and by users infringes the ‘261
  25 Patent. For example, Defendants intend to induce such infringement by, among other
  26 things, promoting users to purchase and use the First Infringing Attachment knowing
  27 that its purchase and use infringes one or more claims of the ‘261 Patent.
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   1                104. On information and belief, at least since the filing of this Complaint,
   2 Defendants have contributed to the infringement of the ‘261 Patent by, inter alia,
   3 marketing and promoting the First Infringing Attachment to its customers and users.
   4 The First Infringing Attachment is not a staple article or commodity of commerce
   5 suitable for substantial non-infringing use and is known by Defendants to be
   6 especially made or especially adapted to the infringe the ‘261 Patent. As a result,
   7 Defendants’ First Infringing Attachment has been used by their customers and by
   8 users to infringe the ‘261 Patent. Defendants continue to engage in acts of
   9 contributory infringement of the ‘261 Patent even after receiving notice of their
  10 contributory infringement.
  11                105. At no time has Therabody granted Defendants authorization, license, or
  12 permission to utilize the design claimed in the ‘261 Patent.
  13                106. Therabody has been damaged by Defendants’ acts of infringement of the
  14 ‘261 Patent and Therabody will continue to be damaged by such infringement unless
  15 enjoined by this Court. Therabody is entitled to recover damages adequate to
  16 compensate for the infringement under 35 U.S.C. § 284.
  17                107. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  18 infringement including the following harm which cannot be quantified or recouped
  19 through monetary damages: (1) lost market share that will be difficult, if not
  20 impossible, to recoup later as the First Infringing Attachment becomes entrenched
  21 with retail sellers and trainers who recommend them to their clients, (2) loss of first
  22 mover advantage that Therabody enjoyed as the first company to offer its innovative
  23 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  24 building up the market for percussive devices and its patented attachments, (4)
  25 negative effect on its reputation as innovator and pioneer, (5) the unquantifiable effect
  26 on lost sales of related products, (6) price erosion due to Defendants’ First Infringing
  27 Attachment being sold at a price point lower than Therabody’s patented product, (7)
  28 diversion of resources to defend against loss of market share caused by sales of the

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   1 First Infringing Attachment, and (8) Defendants’ unauthorized sales that are enticing
   2 others to offer for sale and sell infringing attachments that leads to additional
   3 irreparable harm described above.
   4                108. Defendants’ acts of infringement, including continuing the infringing
   5 activities after receiving notice of Defendants’ direct and indirect infringement, have
   6 been, and continue to be, willful and deliberate and therefore warrant the award of
   7 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
   8 pursuant to 35 U.S.C. § 284.
   9                                 SEVENTH CAUSE OF ACTION
  10                Patent Infringement of the ‘182 Patent, 35 U.S.C. §§ 101 et seq.
  11                                       (Against All Defendants)
  12                109. Therabody realleges and incorporates by reference all paragraphs above
  13 as if fully set forth herein.
  14                110. At all times herein mentioned the ‘182 Patent was and is valid and fully
  15 enforceable.
  16                111. As shown below, a side by side comparison of Therabody’s ‘182 Patent
  17 and Defendants’ First Infringing Attachment quickly reveals that the design of the
  18 First Infringing Attachment as a whole appears substantially the same as Therabody’s
  19 ‘182 Patent to an ordinary observer, and the resemblance is such as to deceive such
  20 an observer, inducing him to purchase one supposing it to be the other. Among other
  21 things, an ordinary observer would conclude that the First Infringing Attachment has
  22 a number of the same, or very similar, features as the design patented in the ‘182
  23 Patent that contribute to an overall appearance that is substantially the same, including
  24 but not limited to that both the patented design and First Infringing Attachment are
  25 (a) cone shaped, (b) have the same relative dimensions (cone axial length relative to
  26 the diameter of the base), (c) have a rounded tip, and (d) have a generally circular
  27 cavity centered in the base of the attachment:
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   7                112. Defendants have and continue to directly infringe the ‘182 Patent by
   8 making, using, offering for sale, selling and importing the First Infringing Attachment
   9 in conjunction with percussive massage devices competitive to Therabody.
  10                113. Defendants’ infringement is based upon literal infringement or
  11 infringement under the doctrine of equivalents, or both.
  12                114. On information and belief, at least since the filing of this Complaint,
  13 Defendants have knowingly and actively induced the infringement of one or more of
  14 the ‘182 Patent claims by, inter alia, marketing, promoting, and offering for use the
  15 First Infringing Attachment, knowingly and intending that the use of the First
  16 Infringing Attachment by Defendants’ customers and by users infringes the ‘182
  17 Patent. For example, Defendants intend to induce such infringement by, among other
  18 things, promoting users to purchase and use the First Infringing Attachment knowing
  19 that its purchase and use infringes one or more claims of the ‘182 Patent.
  20                115. On information and belief, at least since the filing of this Complaint,
  21 Defendants have contributed to the infringement of the ‘182 Patent by, inter alia,
  22 marketing and promoting the First Infringing Attachment to their customers and users.
  23 The First Infringing Attachment is not a staple article or commodity of commerce
  24 suitable for substantial non-infringing use and is known by Defendants to be
  25 especially made or especially adapted to the infringe the ‘182 Patent. As a result,
  26 Defendants’ First Infringing Attachment has been used by their customers and by
  27 users to infringe the ‘182 Patent.            Defendants continue to engage in acts of
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   1 contributory infringement of the ‘182 Patent even after receiving notice of their
   2 contributory infringement.
   3                116. At no time has Therabody granted Defendants authorization, license, or
   4 permission to utilize the design claimed in the ‘182 Patent.
   5                117. Therabody has been damaged by Defendants’ acts of infringement of the
   6 ‘182 Patent and Therabody will continue to be damaged by such infringement unless
   7 enjoined by this Court. Therabody is entitled to recover damages adequate to
   8 compensate for the infringement under 35 U.S.C. § 284.
   9                118. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  10 infringement including the following harm which cannot be quantified or recouped
  11 through monetary damages: (1) lost market share that will be difficult, if not
  12 impossible, to recoup later as the First Infringing Attachment becomes entrenched
  13 with retail sellers and trainers who recommend them to their clients, (2) loss of first
  14 mover advantage that Therabody enjoyed as the first company to offer its innovative
  15 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  16 building up the market for percussive devices and its patented attachments, (4)
  17 negative effect on its reputation as innovator and pioneer, (5) the unquantifiable effect
  18 on lost sales of related products, (6) price erosion due to Defendants’ First Infringing
  19 Attachment being sold at a price point lower than Therabody’s patented product, (7)
  20 diversion of resources to defend against loss of market share caused by sales of the
  21 First Infringing Attachment, and (8) Defendants’ unauthorized sales that are enticing
  22 others to offer for sale and sell infringing attachments that leads to additional
  23 irreparable harm described above.
  24                119. Defendants’ acts of infringement, including continuing the infringing
  25 activities after receiving notice of Defendants’ direct and indirect infringement, have
  26 been, and continue to be, willful and deliberate and therefore warrant the award of
  27 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  28 pursuant to 35 U.S.C. § 284.

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   1                                  EIGHTH CAUSE OF ACTION
   2                               Patent Infringement of the ‘640 Patent
   3                                      (35 U.S.C. §§ 101 et seq.)
   4                120. Therabody realleges and incorporates by reference all paragraphs above
   5 as if fully set forth herein.
   6                121. At all times herein mentioned the ‘640 Patent was and is valid and fully
   7 enforceable.
   8                122. As shown below, a side by side comparison of Therabody’s ‘640 Patent
   9 and Defendants’ Second and Third Infringing Attachments quickly reveals that
  10 designs of the Second and Third Infringing Attachments as a whole appear
  11 substantially the same as Therabody’s ‘640 Patent to an ordinary observer, and the
  12 resemblance is such as to deceive such an observer, inducing him to purchase one
  13 supposing it to be the other. Among other things, an ordinary observer would
  14 conclude that the Second and Third Infringing Attachments have a number of the
  15 same, or very similar, features as the design patented in the ‘640 Patent that contribute
  16 to an overall appearance that is substantially the same, including but not limited to
  17 that both the patented design and Second and Third Infringing Attachments are (a)
  18 spherically shaped, (b) have a base with a circular design surrounding a center cavity,
  19 and (c) have a generally circular cavity centered in the base of the attachment:
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  27                123. Defendants have and continue to directly infringe the ‘640 Patent by
  28 making, using, offering for sale, selling and importing the Second and Third

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   1 Infringing Attachments in conjunction with percussive massage devices competitive
   2 to Therabody.
   3                124. Defendants’ infringement is based upon literal infringement or
   4 infringement under the doctrine of equivalents, or both.
   5                125. On information and belief, at least since the filing of this Complaint,
   6 Defendants have knowingly and actively induced the infringement of one or more of
   7 the ‘640 Patent claims by, inter alia, marketing, promoting, and offering for use the
   8 Second and Third Infringing Attachments, knowingly and intending that the use of
   9 the Second and Third Infringing Attachments by Defendants’ customers and by users
  10 infringes the ‘640 Patent.             For example, Defendants intend to induce such
  11 infringement by, among other things, promoting users to purchase and use the Second
  12 and Third Infringing Attachments knowing that such purchase and use infringes one
  13 or more claims of the ‘640 Patent.
  14                126. On information and belief, at least since the filing of this Complaint,
  15 Defendants have contributed to the infringement of the ‘640 Patent by, inter alia,
  16 marketing and promoting the Second and Third Infringing Attachments to its
  17 customers and users. The Second and Third Infringing Attachments are not staple
  18 articles or commodities of commerce suitable for substantial non-infringing use and
  19 are known by Defendants to be especially made or especially adapted to the infringe
  20 the ‘640 Patent. As a result, Defendants’ Second and Third Infringing Attachments
  21 have been used by their customers and by users to infringe the ‘640 Patent.
  22 Defendants continue to engage in acts of contributory infringement of the ‘640 Patent
  23 even after receiving notice of their contributory infringement.
  24                127. At no time has Therabody granted Defendants authorization, license, or
  25 permission to utilize the design claimed in the ‘640 Patent.
  26                128. Therabody has been damaged by Defendants’ acts of infringement of the
  27 ‘640 Patent and Therabody will continue to be damaged by such infringement unless
  28

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   1 enjoined by this Court. Therabody is entitled to recover damages adequate to
   2 compensate for the infringement under 35 U.S.C. § 284.
   3                129. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
   4 infringement, including the following harm which cannot be quantified or recouped
   5 through monetary damages: (1) lost market share that will be difficult, if not
   6 impossible, to recoup later as the Second Infringing Attachment and Third Infringing
   7 Attachment become entrenched with retail sellers and trainers who recommend them
   8 to their clients, (2) loss of first mover advantage that Therabody enjoyed as the first
   9 company to offer its innovative percussive devices and patented attachments, (3) loss
  10 of Therabody’s investment in building up the market for percussive devices and its
  11 patented attachments, (4) negative effect on its reputation as innovator and pioneer,
  12 (5) the unquantifiable effect on lost sales of related products, (6) price erosion due to
  13 Defendants’ Second Infringing Attachment and Third Infringing Attachment being
  14 sold at a price point lower than Therabody’s patented product, (7) diversion of
  15 resources to defend against loss of market share caused by sales of the Second
  16 Infringing Attachment and Third Infringing Attachment, and (8) Defendants’
  17 unauthorized sales that are enticing others to offer for sale and sell infringing
  18 attachments that lead to additional irreparable harm described above.
  19                130. Defendants’ acts of infringement, including continuing the infringing
  20 activities after receiving notice of Defendants’ direct and indirect infringement, have
  21 been, and continue to be, willful and deliberate and therefore warrant the award of
  22 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  23 pursuant to 35 U.S.C. § 284.
  24                                   NINTH CAUSE OF ACTION
  25                              Patent Infringement of the ‘680 Patent
  26                                     (35 U.S.C. §§ 101 et seq.)
  27                131. Therabody realleges and incorporates by reference all paragraphs above
  28 as if fully set forth herein.

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   1                132. At all times herein mentioned the ‘680 Patent was and is valid and fully
   2 enforceable.
   3                133. As shown below, a side by side comparison of Therabody’s ‘680 Patent
   4 and Defendants’ Second Infringing Attachment and Third Infringing Attachment
   5 quickly reveals that the designs of the Second and Third Infringing Attachments as a
   6 whole appear substantially the same as Therabody’s ‘680 Patent to an ordinary
   7 observer, and the resemblance is such as to deceive such an observer, inducing him
   8 to purchase one supposing it to be the other. Among other things, an ordinary
   9 observer would conclude that the Second and Third Infringing Attachments have a
  10 number of the same, or very similar, features as the design patented in the ‘640 Patent
  11 that contribute to an overall appearance that is substantially the same, including but
  12 not limited to that both the patented design and Second and Third Infringing
  13 Attachments are (a) spherically shaped, (b) have a base with a circular design
  14 surrounding a center cavity, and (c) have a generally circular cavity centered in the
  15 base of the attachment:
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  21                134. Defendants have and continue to directly infringe the ‘680 Patent by
  22 making, using, offering for sale, selling and importing the Second and Third
  23 Infringing Attachments in conjunction with percussive massage devices competitive
  24 to Therabody.
  25        135. Defendants’ infringement is based upon literal infringement or
  26 infringement under the doctrine of equivalents, or both.
  27                136. On information and belief, at least since the filing of this Complaint,
  28 Defendants have knowingly and actively induced the infringement of one or more of

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   1 the ‘680 Patent claims by, inter alia, marketing, promoting, and offering for use the
   2 Second and Third Infringing Attachments, knowingly and intending that the use of
   3 the Second and Third Infringing Attachments by Defendants’ customers and by users
   4 infringes the ‘680 Patent.             For example, Defendants intend to induce such
   5 infringement by, among other things, promoting users to purchase and use the Second
   6 and Third Infringing Attachments knowing that such purchase and use infringes one
   7 or more claims of the ‘680 Patent.
   8                137. On information and belief, at least since the filing of this Complaint,
   9 Defendants have contributed to the infringement of the ‘680 Patent by, inter alia,
  10 marketing and promoting the Second and Third Infringing Attachments to their
  11 customers and users. The Second and Third Infringing Attachments are not staple
  12 articles or commodities of commerce suitable for substantial non-infringing use and
  13 are known by Defendants to be especially made or especially adapted to the infringe
  14 the ‘680 Patent. As a result, Defendants’ Second and Third Infringing Attachments
  15 have been used by its customers and by users to infringe the ‘680 Patent. Defendants
  16 continue to engage in acts of contributory infringement of the ‘680 Patent even after
  17 receiving notice of their contributory infringement.
  18                138. At no time has Therabody granted Defendants authorization, license, or
  19 permission to utilize the design claimed in the ‘680 Patent.
  20                139. Therabody has been damaged by Defendants’ acts of infringement of the
  21 ‘680 Patent and Therabody will continue to be damaged by such infringement unless
  22 enjoined by this Court. Therabody is entitled to recover damages adequate to
  23 compensate for the infringement under 35 U.S.C. § 284.
  24                140. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  25 infringement including the following harm which cannot be quantified or recouped
  26 through monetary damages: (1) lost market share that will be difficult, if not
  27 impossible, to recoup later as the Second and Third Infringing Attachments become
  28 entrenched with retail sellers and trainers who recommend them to their clients, (2)

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   1 loss of first mover advantage that Therabody enjoyed as the first company to offer its
   2 innovative percussive devices and patented attachments, (3) loss of Therabody’s
   3 investment in building up the market for percussive devices and its patented
   4 attachments, (4) negative effect on its reputation as innovator and pioneer, (5) the
   5 unquantifiable effect on lost sales of related products, (6) price erosion due to
   6 Defendants’ Second and Third Infringing Attachments being sold at a price point
   7 lower than Therabody’s patented product, (7) diversion of resources to defend against
   8 loss of market share caused by sales of the Second and Third Infringing Attachments,
   9 and (8) Defendants’ unauthorized sales that are enticing others to offer for sale and
  10 sell infringing attachments that leads to additional irreparable harm described above.
  11                141. Defendants’ acts of infringement, including continuing the infringing
  12 activities after receiving notice of Defendants’ direct and indirect infringement, have
  13 been, and continue to be, willful and deliberate and therefore warrant the award of
  14 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
  15 pursuant to 35 U.S.C. § 284.
  16                                   TENTH CAUSE OF ACTION
  17                               Patent Infringement of the ‘500 Patent
  18                                      (35 U.S.C. §§ 101 et seq.)
  19                142. Therabody realleges and incorporates by reference all paragraphs above
  20 as if fully set forth herein.
  21                143. At all times herein mentioned the ‘500 Patent was and is valid and fully
  22 enforceable.
  23                144. As shown below, a side by side comparison of Therabody’s ‘500 Patent
  24 and Defendants’ Fourth Infringing Attachment quickly reveals that the designs of the
  25 Fourth Infringing Attachment as a whole appear substantially the same as
  26 Therabody’s ‘500 Patent to an ordinary observer, and the resemblance is such as to
  27 deceive such an observer, inducing him to purchase one supposing it to be the other.
  28 Among other things, an ordinary observer would conclude that the Fourth Infringing

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   1 Attachment have a number of the same, or very similar, features as the design patented
   2 in the ‘500 Patent that contribute to an overall appearance that is substantially the
   3 same, including but not limited to that both the patented design and Fourth Infringing
   4 Attachment is (a) width of contact side (where it placed against a body part) is larger
   5 than the width of the attachment side, (b) width of the contact side and the length (top
   6 to bottom) are generally the same size, (c) thickness of the contact surface has the
   7 same proportions to the length and width of the attachment, (d) rounded contact
   8 surface, and (e) a generally circular cavity centered in the base of the attachment:
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  14                145. Defendants have and continue to directly infringe the ‘500 Patent by
  15 making, using, offering for sale, selling and importing Fourth Infringing Attachment
  16 in conjunction with percussive massage devices competitive to Therabody.
  17                146. Defendants’ infringement is based upon literal infringement or
  18 infringement under the doctrine of equivalents, or both.
  19                147. On information and belief, at least since the filing of this Complaint,
  20 Defendants have knowingly and actively induced the infringement of one or more of
  21 the ‘500 Patent claims by, inter alia, marketing, promoting, and offering for use the
  22 Fourth Infringing Attachment knowingly and intending that the use of the Fourth
  23 Infringing Attachment by Defendants’ customers and by users infringes the ‘500
  24 Patent. For example, Defendants intend to induce such infringement by, among other
  25 things, promoting users to purchase and use the Fourth Infringing Attachment
  26 knowing that such purchase and use infringes one or more claims of the ‘500 Patent.
  27                148. On information and belief, at least since the filing of this Complaint,
  28 Defendants have contributed to the infringement of the ‘500 Patent by, inter alia,

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   1 marketing and promoting the Fourth Infringing Attachment to their customers and
   2 users. The Fourth Infringing Attachment is not staple articles or commodities of
   3 commerce suitable for substantial non-infringing use and are known by Defendants
   4 to be especially made or especially adapted to the infringe the ‘500 Patent. As a result,
   5 Defendants’ Fourth Infringing Attachment has been used by its customers and by
   6 users to infringe the ‘500 Patent.            Defendants continue to engage in acts of
   7 contributory infringement of the ‘500 Patent even after receiving notice of their
   8 contributory infringement.
   9                149. At no time has Therabody granted Defendants authorization, license, or
  10 permission to utilize the design claimed in the ‘500 Patent.
  11                150. Therabody has been damaged by Defendants’ acts of infringement of the
  12 ‘500 Patent and Therabody will continue to be damaged by such infringement unless
  13 enjoined by this Court. Therabody is entitled to recover damages adequate to
  14 compensate for the infringement under 35 U.S.C. § 284.
  15                151. Therabody is, and has been, irreparably harmed by Defendants’ ongoing
  16 infringement including the following harm which cannot be quantified or recouped
  17 through monetary damages: (1) lost market share that will be difficult, if not
  18 impossible, to recoup later as the Fourth Infringing Attachment becomes entrenched
  19 with retail sellers and trainers who recommend them to their clients, (2) loss of first
  20 mover advantage that Therabody enjoyed as the first company to offer its innovative
  21 percussive devices and patented attachments, (3) loss of Therabody’s investment in
  22 building up the market for percussive devices and its patented attachments, (4)
  23 negative effect on its reputation as innovator and pioneer, (5) the unquantifiable effect
  24 on lost sales of related products, (6) price erosion due to Defendants’ Fourth
  25 Infringing Attachment being sold at a price point lower than Therabody’s patented
  26 product, (7) diversion of resources to defend against loss of market share caused by
  27 sales of the Fourth Infringing Attachment, and (8) Defendants’ unauthorized sales that
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   1 are enticing others to offer for sale and sell infringing attachments that leads to
   2 additional irreparable harm described above.
   3                152. Defendants’ acts of infringement, including continuing the infringing
   4 activities after receiving notice of Defendants’ direct and indirect infringement, have
   5 been, and continue to be, willful and deliberate and therefore warrant the award of
   6 attorneys’ fees pursuant to 35 U.S.C. § 285 and the award of enhanced damages
   7 pursuant to 35 U.S.C. § 284.
   8                                ELEVENTH CAUSE OF ACTION
   9                                  State Unfair Business Practices
  10                                 (Cal. Bus. & Prof. Code § 17200)
  11                153. Therabody realleges and incorporates by reference all paragraphs above
  12 as if fully set forth herein.
  13                154. Defendants’ acts of trade dress and patent infringement alleged herein
  14 constitute unlawful, unfair and fraudulent business practices and misleading
  15 advertising pursuant to Cal. Bus. & Prof. Code § 17200.
  16                155. Therabody has been damaged and will continue to be damaged by
  17 Defendants’ unlawful, unfair and fraudulent business practices and misleading
  18 advertising, as described above.
  19                156. Pursuant to Cal. Bus. & Prof. Code § 17200, Plaintiff is entitled to an
  20 injunction prohibiting Defendants from continuing the practices described above, and
  21 restitution of all amounts acquired by Defendants by means of such wrongful acts.
  22                                      PRAYER FOR RELIEF
  23                WHEREFORE, Therabody prays for judgment as follows:
  24                A.    For an order that, by the acts complained of herein, Defendants have
  25 infringed Therabody’s trade dress rights, in violation of 15 U.S.C. § 1125;
  26                B.    For an order finding that Therabody’s Trade Dress is valid and
  27 protectable and that, by the acts complained of herein, Defendants have infringed
  28 Therabody’s rights in the Trade Dress;

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   1                C.   For an order temporarily, preliminarily and permanently enjoining
   2 Defendants, and all of their officers, directors, agents, servants, affiliates, employees,
   3 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
   4 others acting in concert or participation with any of them, from using from using the
   5 Infringing Trade Dress, and any marks or trade dress confusingly similar to any of
   6 Therabody’s Trade Dress, or engaging in further acts of unfair competition or
   7 trademark or trade dress infringement;
   8                D.   For an order finding that the Asserted Patents, and each of them, are valid
   9 and enforceable;
  10                E.   For an order finding that Defendants have infringed the Asserted Patents
  11 directly, contributorily, and/or by inducement, literally or by equivalents, in violation
  12 of 35 U.S.C. § 271;
  13                F.   For an order temporarily, preliminarily and permanently enjoining
  14 Defendants, their officers, directors, agents, servants, affiliates, employees,
  15 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
  16 others acting in concert or participation with any of them, from infringing the Asserted
  17 Patents directly, contributorily and/or by inducement, or otherwise engaging in acts
  18 of unfair competition;
  19                G.   For a judgment directing that any products in the possession, custody or
  20 control of Defendants which infringe any of the Asserted Patents, any of the
  21 Therabody Trade Dress be delivered up and destroyed within 30 days of entry of
  22 judgment;
  23                H.   For a judgment directing Defendants to recall all such infringing
  24 products and any other materials sold, distributed, advertised or marketed which
  25 infringe any of the Asserted Patents, any of the Therabody Trade Dress;
  26                I.   For an order directing Defendants to file with the Court, and serve upon
  27 Therabody’s counsel, within thirty (30) days after entry of the order of injunction, a
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   1 report setting forth the manner and form in which each of them has complied with the
   2 injunction;
   3                J.    For an order that, by the acts complained of herein, Defendants have
   4 infringed Therabody’s common law trademark and trade dress rights and/or engaged
   5 in acts of common law unfair competition against Therabody;
   6                K.    For an order finding that Defendants’ conduct alleged herein was willful
   7 and intentional and in conscious disregard of Therabody’s rights;
   8                L.    For compensatory damages in an amount to be proven at trial, including
   9 disgorgement of profits or gains of any kind made by Defendants from their infringing
  10 acts, lost profits and/or reasonable royalty, in amounts to be fixed by the Court in
  11 accordance with proof, including general, statutory, enhanced, exemplary, treble,
  12 and/or punitive damages, as appropriate;
  13                M.    For treble damages pursuant to 15 U.S.C. § 1117;
  14                N.    For an accounting and restitution and disgorgement of all payments,
  15 profits, and revenues Defendants obtained as a result of their wrongful conduct, in an
  16 amount to be proven at trial, including pursuant to 15 U.S.C. § 1117;
  17                O.    For an order finding that this is an exceptional case, and awarding
  18 Plaintiff’s reasonable attorney’s fees according to proof;
  19                P.    For an order awarding Therabody its costs of court; and
  20                Q.    For such other and further relief as the Court may deem just and proper.
  21                                    DEMAND FOR JURY TRIAL
  22                Plaintiff demands trial by jury on all issues so triable.
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   1 DATED: December 1, 2021          JEFFER MANGELS BUTLER &
                                      MITCHELL LLP
   2
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   3                                  GREGORY S. CORDREY
   4
   5
                                      By:         /s/ Gregory S. Cordrey
   6
                                                    GREGORY S. CORDREY
   7                                        Attorneys for Plaintiff Therabody, Inc.
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